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12                              UNITED STATES DISTRICT COURT
13                         CENTRAL DISTRICT OF CALIFORNIA
14
15   LUCAS R., et al.,                        Case No. CV 2:18-CV-05741
16                   Plaintiffs,              MEMORANDUM OF POINTS AND
                                              AUTHORITIES IN SUPPORT OF
17         v.                                 MOTION FOR CLASS CERTIFICATION
18   ALEX AZAR, Secretary of U.S.             Hearing: November 2, 2018
     Department of Health and Human           Time:    9:30 a.m.
19   Services; et al.,                        Room:    1st St. Courthouse
                                                       Courtroom 8C
20                   Defendants.
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                                                     MEMORANDUM IN SUPPORT OF MOTION FOR
                                                                     CLASS CERTIFICATION
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 1   I.    INTRODUCTION
 2         In this action Plaintiffs challenge five policies and practices of the Office of
 3   Refugee Resettlement (“ORR”) that prolong children’s detention under ever-harsher
 4   conditions, creating a continuum of trauma that vulnerable children—many of whom
 5   arrive in the United States after having suffered horrific trauma in their countries of
 6   origin—are ill-equipped to endure. 1
 7         First, ORR “steps up” children from shelters to medium-secure, secure, and
 8   psychiatric facilities without even the most rudimentary procedural protections. Youth
 9   housed in shelters report being awakened in the small hours of the morning and soon
10   thereafter finding themselves confined in juvenile halls or psychiatric facilities, where
11   they suffer irreparable harm inherent to confinement.
12         Second, ORR routinely administers children psychotropic drugs without lawful
13   authorization or other constitutionally required procedural protections. When youth
14   object to taking such medications, ORR compels them. ORR neither requires nor asks
15   for a parent’s consent before medicating a child, nor does it seek lawful authority to
16   medicate children without a parent’s consent.
17         Third, ORR prolongs children’s detention on the ground that their parents or
18   other available custodians are or may be unfit, but affords neither detained children nor
19   their proposed custodians any meaningful or timely opportunity to be heard regarding
20   a proposed custodian’s fitness.
21         Fourth, ORR blocks lawyers from representing detained children with respect to
22   placement, administration of psychotropic medications, or release to available
23   custodians, notwithstanding that Congress specifically directed ORR to “ensure, to the
24   greatest extent practicable” that children who are or have been in its custody have legal
25
26   1
       In 2002, the Homeland Security Act, Pub. L. 107-296, 116 Stat. 2135 (“HSA”),
     dissolved the Immigration and Naturalization Service (“INS”) and transferred most of
27   its functions to the Department of Homeland Security (“DHS”). Congress directed,
     however, that the ORR should have authority over the custody and release of
28   unaccompanied minors detained pursuant to the INA. 6 U.S.C § 279.
                                                          MEMORANDUM IN SUPPORT OF MOTION FOR
                                               1.                         CLASS CERTIFICATION
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 1   representation in “legal proceedings or matters.” William Wilberforce Trafficking
 2   Victims Protection Reauthorization Act of 2008, 110 Pub. L. 457, 122 Stat. 5044,
 3   codified in pertinent part at 8 U.S.C. § 1232(b)(5) (“TVPRA”).
 4         Fifth, ORR segregates children who have or are perceived to have a behavioral,
 5   mental health, intellectual, and/or developmental disability, placing them in secure,
 6   medium secure and psychiatric facilities, instead of the most appropriate setting for their
 7   needs, thereby further prolonging their detention due to heightened administrative
 8   barriers to release from such facilities.
 9         Plaintiffs contend that the foregoing policies and practices violate the settlement
10   in Flores v. Sessions, No. 85-4544-DMG (“Flores Settlement”) (Ex. 1 2), the TVPRA,
11   the Due Process Clause of the Fifth Amendment to the U.S. Constitution, the Freedom
12   of Association Clause of the First Amendment to the U.S. Constitution, and Section 504
13   of the Rehabilitation Act of 1973. To protect all class members’ rights thereunder,
14   Plaintiffs ask the Court to certify this case as a class action under Federal Rule of Civil
15   Procedure 23(b)(2).
16         Courts routinely certify lawsuits like this one as Rule 23(b)(2) class actions. See,
17   e.g., Saravia v. Sessions, 280 F. Supp. 3d 1168, 1205 (N.D. Cal. Nov. 20, 2017)
18   (certifying class action of immigrant children previously in ORR custody); Ms L. v.
19   ICE, No. 3:18-cv-00428-DMS-MDD, 2018 U.S. Dist. LEXIS 107364, at *27 (S.D. Cal.
20   June 26, 2018) (certifying class of immigrant children separated from their parents);
21   L.V.M. v. Lloyd, No. 1:18-cv-01453-PAC, 2018 U.S. Dist. LEXIS 107692, at *25
22   (S.D.N.Y. June 27, 2018) (certifying class of immigrant children in ORR custody in
23   New York State and who have been housed in a secure or staff-secure facility); M.B. v.
24   Corsi, No. 2:17-cv-4102-NKL, 2018 U.S. Dist. LEXIS 120329, at *2 (W.D. Mo. July
25   19, 2018) (certifying a class of foster children who are or may be administered or
26
27
     2
      All references to Exhibits (e.g. “Ex. 1”) are to the exhibits attached to the Notice of
28   Lodgment filed in conjunction with this motion.
                                                            MEMORANDUM IN SUPPORT OF MOTION FOR
                                                 2.                         CLASS CERTIFICATION
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 1   prescribed psychotropic medications in state custody). 3 The result here should be no
 2   different.
 3         There is little or no dispute that Defendants in fact pursue the policies and
 4   practices Plaintiffs challenge here. Nor is there any doubt that ORR’s challenged
 5   policies and practices impact hundreds, even thousands, of detained immigrant and
 6   asylum-seeking children each year. Resolving Plaintiffs’ claims involves nearly pure
 7   questions of law. This case is inherently suitable for class treatment. 4
 8
 9   3
      Each of the named Plaintiffs, as well as their proposed class members, are also
     members of the Flores class. (Ex. 1 ¶ 10 (consent decree protects “[a]ll minors who
10   are detained in the legal custody of the INS.”).)
11   As INS’s successor-in-interest, the Flores Settlement is fully binding on ORR and will
     remain so until 45 days after it publishes final regulations implementing the consent
12   decree, which it has yet to do. Flores v. Sessions, 862 F.3d 863, 869-70 (9th Cir.
     2017).
13
     On September 7, 2018, the Departments of Homeland Security and Health and Human
14   Services published proposed regulations that purport to implement the substance of
     the Flores Settlement, 83 Fed. Reg. 45486, but instead abrogate critical protections
15   against, inter alia, needlessly protracted detention and unlicensed placement. The
     proposed regulations are accordingly inconsistent with the requirement of ¶ 9 of the
16   Flores Settlement, which provides that Defendants’ regulations “shall not be
     inconsistent with the terms of this Agreement.”
17
     In any event, the public comment period does not close until November 6, 2018, id.,
18   and there is no telling when Defendants will thereafter publish final regulations.
19   4
       Plaintiffs file this motion promptly in accordance with Fed. Rule of Civ. Proc.
     23(c)(1)(A) (“At an early practicable time after a person sues or is sued as a class
20   representative, the court must determine by order whether to certify the action as a
     class action.”) (Emphasis supplied)), and Local Rule 23-3 (“Within 90 days after
21   service of a pleading purporting to commence a class action . . . the proponent of the
     class shall file a motion for certification.”). Plaintiffs filed their first motion for class
22   certification of the classes alleged in the Complaint on August 2, 2018. (Dkt. No. 25-
     1) On September 7, 2018 Plaintiffs filed a First Amended Complaint alleging an
23   additional subclass. (Dkt. No. 81.) On September 10, 2018, the Court denied class
     certification without prejudice and ordered that a renewed Motion addressed the new
24   subclass. (Dkt. No. 85.)
25   The Court may grant certification so long as it has enough information to support a
     “reasonable judgment” that the requirements of Rule 23 have been met. Sali v. Corona
26   Reg’l Med. Ctr., 889 F.3d 623, 632 (9th Cir. 2018) (quoting Blackie v. Barrack, 524
     F.2d 891, 900-01 (9th Cir. 1975), cert. denied, 429 U.S. 816 (1976)). As argued
27   below, there is more than sufficient basis to support a reasonable judgment that this
     action is suitable for class treatment.
28
                                                              MEMORANDUM IN SUPPORT OF MOTION FOR
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 1   II.    STATEMENT OF FACTS
 2          A.    Procedural and Legal Background
 3          On January 28, 1997, the Court approved the class-wide Flores Settlement. The
 4   consent decree sets standards for the custody, detention and release of children detained
 5   for alleged civil violations of the Immigration and Nationality Act, 8 U.S.C. §§ 1101 et
 6   seq.
 7          The Flores Settlement requires ORR to minimize the detention of children and,
 8   thereby, the harm detention causes them. Paragraph 14 of the agreement requires ORR
 9   to release children from immigration-related custody “without unnecessary delay” so
10   long as their continued detention is not required to secure availability for removal or to
11   protect safety. Paragraph 18 requires ORR to make “prompt and continuous efforts”
12   toward family reunifications and to release children to suitable custodians without
13   unnecessary delay. (Ex. 1 at 12.)
14          The Flores Settlement also mandates that when the government does keep
15   children in custody, it must house them in non-restrictive facilities. Except in limited
16   enumerated circumstances, Definition 6 and ¶ 19 of the Flores Settlement require ORR
17   to place children in non-secure facilities holding a state license to care for dependent—
18   as opposed to delinquent—children. (Ex. 1 at 5-6, 12.)
19          In the TVPRA, Congress likewise directed ORR to minimize the detention of
20   children and hold them in the least restrictive setting practicable for howsoever long it
21   does detain them.
22          Section 235(c)(2)(A) of the TVPRA, codified at 8 U.S.C. § 1232(c)(2)(A),
23   requires ORR to “promptly” place detained children “in the least restrictive setting that
24   is in the best interest of the child,” generally, with “a suitable family member.” It further
25   bars ORR from placing a child “in a secure facility absent a determination that the child
26   poses a danger to self or others or has been charged with having committed a criminal
27   offense.”
28          The TVPRA further requires that “placement of a child in a secure facility shall
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 1   be reviewed, at a minimum, on a monthly basis, in accordance with procedures
 2   prescribed by the Secretary, to determine if such placement remains warranted.”
 3   TVPRA § 235(c)(2)(A).
 4         Additionally, the TVPRA requires that ORR “ensure, to the greatest extent
 5   practicable” that children from non-contiguous countries who are or have been in its
 6   custody “have counsel to represent them in legal proceedings or matters and protect
 7   them from mistreatment.” TVPRA § 235(c)(5).
 8         The United States Constitution also protects the rights of immigrant children to
 9   freedom from unnecessary physical restraint, to freedom from unauthorized or
10   unnecessary administration of psychotropic medications, and to family unity, family
11   care, and family association. See, e.g., Zadvydas v. Davis, 533 U.S. 678, 690 (2001)
12   (“Freedom from imprisonment – from government custody, detention, or other forms
13   of physical restraint – lies at the heart of the liberty [the Fifth Amendment’s Due
14   Process] Clause protects.”); Washington v. Harper, 494 U.S. 210, 221 (1990)
15   (individuals “possess a significant liberty interest in avoiding the unwanted
16   administration” of psychotropic medications); Parham v. J. R., 442 U.S. 584, 600
17   (1979) (finding “a child . . . has a substantial liberty interest in not being confined
18   unnecessarily for medical treatment”); D.B. v. Cardall, 826 F.3d 721, 740 (4th Cir.
19   2016) (“Just as parents possess a fundamental right with respect to their children,
20   children also enjoy a familial right to be raised and nurtured by their parents.”) (internal
21   citations and quotations omitted); Corsi, 2018 U.S. Dist. LEXIS 3232, at *37
22   (“Plaintiffs have a substantial liberty interest in avoiding the unnecessary administration
23   of medical treatment.”) (internal quotations omitted); Aristotle P. v. Johnson, 721 F.
24   Supp. 1002, 1006 (N.D. Ill. 1989) (recognizing children’s “constitutionally protected
25   right to associate with their siblings”). Defendants may not abridge these liberty
26   interests without appropriate procedures to protect against erroneous deprivation. See,
27   e.g., Mathews v. Eldridge, 424 U.S. 319 (1976).
28         Section 504 of the Rehabilitation Act of 1973, codified at 29 U.S.C. § 794,
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 1   protects immigrant children who have or are perceived to have a disability from being
 2   denied the benefits of or subjected to discrimination under programs and activities, like
 3   ORR’s, that receive federal financial assistance and/or are conducted by federal
 4   agencies. The Department of Health and Human Services regulations implementing
 5   Section 504 prohibit ORR from, inter alia, affording a qualified person with a disability
 6   “an opportunity to participate in or benefit from [an] aid, benefit, or service that is not
 7   equal to that afforded others.” 45 C.F.R. § 84.4(b)(1)(ii). The aids, benefits, and
 8   services provided by ORR “must afford [children with disabilities] equal opportunity to
 9   obtain the same result, to gain the same benefit, or to reach the same level of
10   achievement, in the most integrated setting appropriate to the person’s needs.” 45
11   C.F.R. § 84.4(b)(2). ORR may not “utilize criteria or methods of administration” that
12   either result in discrimination on the basis of disability or “that have the purpose or
13   effect of defeating or substantially impairing accomplishment of the objectives” of
14   ORR’s programs and activities with respect to children with disabilities. 45 C.F.R. §
15   84.4(b)(4). 5
16          B.       Factual Background
17          The named Plaintiffs are immigrant and asylum-seeking-children who are or have
18   been in ORR custody whom ORR has stepped up, medicated without appropriate
19   procedural protections, including informed parental consent or other lawful
20   authorization, refused to release to available custodians without hearing, denied access
21
22   5
       The Flores class, which includes the named Plaintiffs here, recently moved to
     enforce the Flores consent decree with respect to three of the five claims at issue in
23   this action: (1) step-ups without due process; (2) administration of psychotropic drugs
     in violation of state law; and (3) declaring class members’ proposed custodians unfit
24   without due process. On July 30, 2018, the Court granted in part and denied in part the
     Flores plaintiffs’ motion. Order re: Plaintiffs’ Motion to Enforce Class Action
25   Settlement, Flores v. Sessions, No. 85-cv-4544, Dkt. No. 470.
26   The Court ruled, absent a showing that Defendants are in contempt of the Flores
     consent decree, that the Settlement does not entitle class members to procedural
27   protections for substantive rights the consent decree confers. Id. at 4-6. Plaintiffs’
     instant claims accordingly remain unresolved and suitable for class-wide disposition
28   here.
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 1   to legal counsel Congress has said they should have, and held in restrictive and
 2   prolonged detention because of disability:
 3      • ORR first detained Plaintiff Lucas R. in February 2018. (First Amended
 4         Complaint, Dkt. No. 81 (“Compl.”) ¶ 24.) In April, ORR refused to release Lucas
 5         to his sister in Los Angeles and instead transferred him to the Shiloh psychiatric
 6         facility in Manvel, Texas due to his mental health needs, where he was
 7         administered psychotropic drugs without the consent of his family or court order.
 8         (Compl. ¶¶ 24-32; Ex. 21 ¶¶ 4, 6; Ex. 22 ¶ 14.) Lucas R. languished in the Shiloh
 9         facility until September, when ORR finally consented to his release to his family
10         in Los Angeles, where he now resides. (Declaration of Leecia Welch (“Welch
11         Decl.”) ¶ 2.) His release occurred only after he had been identified as an
12         individual plaintiff and putative class representative in the instant class action and
13         his mistreatment had been detailed in a motion to enjoin the government’s
14         unlawful treatment. (Dkt. Nos. 1 & 29-1.)
15      • Daniela Marisol T., a partially deaf seventeen-year-old girl, fled Honduras
16         fearing for her life and arrived at the U.S.-Mexico border in August 2017.
17         (Compl. ¶ 37.) For nearly a year now, ORR has detained Daniela Marisol at
18         various facilities, including Shiloh, where she was placed due to her mental health
19         needs, and the David & Margaret facility in La Verne, California, in lieu of
20         releasing her to her adult sister, who lives in Michigan. (Id. ¶¶ 42, 45.) ORR has
21         medicated Daniela Marisol at several facilities, including Shiloh and David &
22         Margaret, without her family’s consent or court order. (Id. ¶ 42.)
23      • ORR assumed custody of Plaintiff Miguel Angel S. in May 2017. (Compl. ¶ 47.)
24         For over a year now, it has refused to release Miguel Angel to his father and has
25         instead detained him in a variety of facilities, including Yolo County Juvenile
26         Detention Center and Shiloh, where he was placed due to his mental health needs,
27         and where ORR administered him multiple psychotropic medications, including
28         Remeron, Trazodone, Seroquel, and Lexapro, all without his father’s consent or
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 1       court order. (Compl. ¶¶ 48, 54, 58.)
 2    • Plaintiff Gabriela N., fleeing sexual violence and physical abuse in El Salvador,
 3       arrived alone at the U.S.-Mexico border in January 2017. (Compl. ¶ 59; Ex. 14 ¶
 4       2.) ORR has now detained her for over a year and a half at various facilities,
 5       including Shiloh, where she was placed due to mental health needs, rather than
 6       release her to her grandfather’s custody in Oakland, California. (Supp. Decl. of
 7       Gabriela N., June 8, 2018 Ex. 15 ¶¶ 2, 7.) ORR has administered psychotropic
 8       drugs to Gabriela, including Prozac and Adderall, at multiple facilities without
 9       court order or her family’s consent. (Compl. ¶ 63, 64.)
10    • Jaime D., a thirteen-year-old orphaned boy, fled from Honduras, fearing he
11       would be killed if he stayed there, and arrived at the U.S.-Mexico border with his
12       six-year-old sister and ten-year-old aunt in April 2018. (Compl. ¶ 70; Ex. 20 ¶ 3.)
13       ORR has detained him in lieu of releasing him to his adult aunt in Maryland.
14       (Compl. ¶¶ 14, 70.) ORR has detained Jaime at various facilities, including Yolo
15       County Juvenile Detention Center and the Children’s Village staff-secure and
16       shelter facilities in Dobbs Ferry, New York. (Compl. ¶ 75.)
17    • Sirena P. arrived at the U.S.-Mexico border with her siblings in April 2018 and
18       her father immediately sought custody from the Southwest Key Campbell shelter
19       in Phoenix. (Compl. ¶ 78.) Despite two home studies and positive
20       recommendations, ORR refused to release Sirena P. due to her mental health
21       needs, while her siblings were reunited with their father. (Id.) Alone, Sirena P.’s
22       mental health rapidly deteriorated. (Compl. ¶ 79.) ORR administered her
23       multiple psychotropic drugs, including Hydroxyzine, Prozac, Abilify, and Zoloft,
24       without her father’s consent, and transferred her to Shiloh without notice.
25       (Compl. ¶¶ 80-81.) In mid-September, she was finally released, after being
26       named in the First Amended Complaint as an individual plaintiff and putative
27       class representative.
28    • Autistic and developmentally delayed, Benjamin F. struggles to communicate
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 1         unless he is in the presence of his mother. (Compl. ¶ 87.) Despite this, he and
 2         his brother were inexplicably separated from her in July 2018 and placed in the
 3         St. PJ’s Children’s Home. (Compl. ¶ 88.) Shortly thereafter, his brother was
 4         released to their grandmother in Los Angeles, but ORR refused to do the same
 5         for Benjamin F., instead transferring him to Shiloh in August 2018 because of his
 6         disability. ORR has administered psychotropic drugs to Benjamin F, including
 7         Guanfacine, Risperidone, and Lexapro without court order or his family’s
 8         informed consent. (Compl. ¶¶ 89, 92.) Benjamin languished at Shiloh until mid-
 9         September, when he was finally released to his grandmother in Los Angeles,
10         where he now resides. (Welch Decl. ¶ 3.) His release was preceded by his
11         participation in the First Amended Complaint as an individual plaintiff and
12         putative class representative in the instant class action. (Dkt. No. 81.)
13         Despite the law’s multiple demands that the immigration detention of children be
14   minimized, the named Plaintiffs have either been denied release altogether or unduly
15   delayed in release despite having qualified custodians ready and willing to care for
16   them. (Compl. ¶¶ 24, 29 (Lucas R.), 45-46 (Daniela Marisol T.), 54, 58 (Miguel Angel
17   S.), 66-67, 69 (Gabriela N.), 70, 73, 76 (Jaime D.), 78, 84 (Sirena P.), 88, 94 (Benjamin
18   F.); Welch Decl. ¶¶ 2-4.) Instead, ORR has raised sundry aspersions against each of the
19   named Plaintiffs’ family members, yet has provided neither the Plaintiff children nor
20   their proposed custodians any meaningful opportunity to be heard regarding the
21   custodians’ fitness. (Compl. ¶¶ 108-109.) The named Plaintiffs remain detained in
22   government custody or were unduly delayed in release, several in secure or psychiatric
23   facilities that are ill-equipped to meet their needs, which both exacerbates their
24   underlying trauma and results in new traumas that threaten their health and safety.
25   (Compl. ¶¶ 34 (Lucas R.), 39 (Daniela Marisol T.), 48-49 (Miguel Angel S.), 62
26   (Gabriela N.), 74 (Jaime D.), 79 (Sirena P.), 90-91 (Benjamin F.), 102.)
27         During the many months ORR has detained the named Plaintiffs, ORR has also
28   stepped each of them up to secure or psychiatric facilities without giving them
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 1   meaningful advance notice of why they were being transferred, a meaningful
 2   opportunity to be heard, or the right to appeal the placement decision. (Compl. ¶¶ 31
 3   (Lucas R.), 41 (Daniela Marisol T.), 52 (Miguel Angel S.), 64 (Gabriela N.), 72 (Jaime
 4   D.), 81 (Sirena P.), 90 (Benjamin F.), 123-124.)
 5          Thirteen-year-old Jaime was awoken one morning at 4 a.m. and put on an
 6   airplane in shackles to be moved across the country from New York to the Yolo Juvenile
 7   Detention Center in California, with no prior notice and no chance to challenge the
 8   decision to move him. (Compl. ¶ 72.) Placements such as this are akin to incarceration
 9   in a jail or prison, and can be deeply traumatic and harmful to children. (Compl. ¶ 120;
10   Ex. 12 ¶ 6 (youth pepper sprayed at Yolo; forced to wash chemicals out of his eyes with
11   toilet water). 6)
12          ORR frequently, and as a matter of policy and practice, administers children,
13   including named Plaintiffs Lucas R., Daniela Marisol T., Miguel Angel S., Gabriela N.,
14   Sirena P. and Benjamin F., psychotropic medications without basic procedures to
15   protect against unnecessary or improper administration of these powerful drugs.
16   (Compl. ¶¶ 32 (Lucas R.), 42 (Daniela Marisol T.), 48 (Miguel Angel S.), 64 (Gabriela
17   N.), 80 (Sirena P.), 89 (Benjamin F.), 140-41.) Among other things, ORR does not
18   obtain informed consent from a parent or other legally authorized consenter before
19   administering psychotropic medications to children. (Compl. ¶¶ 26 (Lucas R.), 42
20   (Daniela Marisol T.), 49 (Miguel Angel S.), 64 (Gabriela N.); 80 (Sirena P.), 89
21   (Benjamin F. Ex. 19 ¶ 9; Ex. 13 ¶¶ 19-20.) Instead, ORR typically has facility staff sign
22   forms authorizing the administration of psychotropics to children in its custody, in
23   complete derogation of the prerogatives of parents and relatives, as well as state law.
24   (Ex. 9 ¶ 5. 7)
25
     6
       ORR forms state that detained children, such as the named Plaintiffs, may request
26   “reconsideration” of placement in a secure or Residential Treatment Center facility,
     but only after they have spent thirty days in one. (Ex. 4.)
27   7
       ORR also routinely compels children to take psychotropic medications. For example,
     Gabriela did “not want to take the medications, but [she] was told that if [she didn’t]
28   take them, [she] would be disciplined and the staff [would] restrict the little freedom”
                                                          MEMORANDUM IN SUPPORT OF MOTION FOR
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 1          ORR routinely obstructs children’s access to counsel to assist them in challenging
 2   ORR’s custody, release, placement, and medication decisions. (Compl. ¶¶ 148-49.)
 3   Between 2009 and 2013, ORR paid the Vera Institute of Justice (“Vera Institute”) nearly
 4   $40 million to provide legal services, and the Vera Institute sub-contracted with legal
 5   aid programs to represent immigrant children. (Ex. 5.) Lawyers funded by the Vera
 6   Institute at these legal aid programs have been prohibited from representing detained
 7   immigrant children, including the named Plaintiffs, with respect to ORR’s placement,
 8   medication, and release decisions. (Ex. 6 ¶ 9; Ex. 7 ¶ 19 (ORR “hobbles free legal
 9   services providers who undertake to represent detained children.”); Ex. 8 ¶ 22-24
10   (same).) The named Plaintiffs received no legal counsel for issues related to step ups,
11   administration of medications, or the fitness of available custodians before class counsel
12   took their cases. (See, e.g., Compl. ¶¶ 35 (Lucas R.), 46 (Daniela Marisol T.), 69
13   (Gabriela N.), 77 (Jaime D.), 85 (Sirena P.).)
14          As a matter of policy and practice, ORR steps up children who need mental health
15   services and supports, or whom staff believe need such services and supports, to more
16   restrictive placements, including children who require services that could be provided
17   effectively in a shelter setting. (Compl. ¶¶ 158-61.) Children placed in such restrictive
18   placements experience additional barriers to release. (Compl. ¶¶ 171-75; see
19   alsoCompl. ¶¶ 31, 33 (Lucas R.), 48, 56 (Miguel Angel S.), 64-65 (Gabriela N.), 81,
20   83-84 (Sirena P.), 90, 93 (Benjamin F.).) For example, while ORR released Benjamin
21   F.’s brother to his family, it sent nine-year-old Benjamin, a child with autism, to Shiloh,
22   prolonging his detention due to his disability. (Compl. ¶¶ 91, 94.)
23   III.   PROPOSED CLASS DEFINITION.
24          Rule 23 implicitly requires that a class be defined so that its membership is
25   ascertainable. Thomas & Thomas Rodmakers, Inc. v. Newport Adhesives & Composites,
26
27   she had. (Ex. 16 ¶ 5.) Similarly, Shiloh staff told Lucas he had “to take the
     medications in order to be released,” which he would have otherwise refused to take.
28   (Ex. 21 ¶ 6.)
                                                            MEMORANDUM IN SUPPORT OF MOTION FOR
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 1   Inc., 209 F.R.D. 159, 163 (C.D. Cal. 2002).
 2         In a Rule 23(b)(2) action for declaratory and injunctive relief, Plaintiffs need only
 3   establish that “the general outlines of the membership of the class are determinable at
 4   the outset of the litigation.” 7A Charles Alan Wright & Arthur R. Miller, Federal
 5   Practice & Procedure, § 1760 (3d ed. 2018). Stated otherwise, the class must be
 6   sufficiently definite “that it is administratively feasible for the court to determine
 7   whether a particular individual is a member.” Id. Unlike a Rule 23(b)(3) action seeking
 8   actual damages for individual class members, Plaintiffs need not precisely establish the
 9   actual membership of the class. Yaffe v. Powers, 454 F.2d 1362, 1366 (1st Cir. 1972).
10   Plaintiffs propose certification of the following:
11         All children in the custody of the Office of Refugee Resettlement of the U.S.
12   Department of Health and Human Services (“ORR”) pursuant to 6 U.S.C. § 279 and/or
13   8 U.S.C. § 1232 —
14   1)    who are or will be placed in a secure facility, medium-secure facility, or
15         Residential Treatment Center (“RTC”), or continued in any such facility for more
16         than thirty days, without being afforded notice and an opportunity to be heard
17         before a neutral and detached decisionmaker regarding the grounds for such
18         placement; or
19   2)    whom ORR is refusing or will refuse to release to parents or other available
20         custodians within thirty days of the proposed custodian’s submitting a complete 8
21         family reunification packet on the ground that the proposed custodian is or may
22         be unfit; or
23
24   8
       The family reunification packet should be considered complete when ORR receives
     the completed and signed “Authorization for Release of Information,” the completed
25   and signed “Family Reunification Application” form, and the supporting documents
     listed on pages 8-10 of the Family Reunification Application, or else a statement from
26   the potential sponsor explaining that one or more supporting documents cannot be
     provided and why. See Office of Refugee Resettlement, Family Reunification
27   Application, available online at
     https://www.acf.hhs.gov/sites/default/files/orr/frp_3s_family_reunification_applicatio
28   n_05_14_18.pdf (last visited Aug. 1, 2018).
                                                           MEMORANDUM IN SUPPORT OF MOTION FOR
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 1   3)    who are or will be prescribed or administered one or more psychotropic
 2         medications without procedural safeguards, including but not limited to obtaining
 3         informed consent or court authorization prior to medicating a child, involving a
 4         neutral decisionmaker in the initial determination of whether to prescribe
 5         psychotropics to a child in ORR custody, and involving a neutral decision-maker
 6         to conduct periodic reviews of those medications as treatment continues;
 7   4)    who are natives of non-contiguous countries and to whom ORR is blocking or
 8         will block legal assistance in legal matters or proceedings involving their custody,
 9         placement, release, and/or administration of psychotropic drugs; or
10   5)    who have or will have a behavioral, mental health, intellectual, and/or
11         developmental disability as defined in 29 U.S.C. § 705, and who are or will be
12         placed in a secure facility, medium-secure facility, or Residential Treatment
13         Facility because of such disabilities.
14         Defined in these precise terms, it is “administratively feasible to determine
15   whether a particular person is a class member.” Wolph v. Acer Am. Corp., 272 F.R.D.
16   477, 482 (N.D. Cal. 2011). The classes are therefore adequately defined.
17   IV.   THIS ACTION SATISFIES THE REQUIREMENTS OF RULE 23(A).
18         In order to be certified for class treatment, an action must satisfy the four
19   requirements of Federal Rule of Civil Procedure 23(a). This action does so.
20         A.    Plaintiffs Satisfy the Numerosity and Impracticality of Joinder
                 Requirement.
21
22         Rule 23(a)(1) requires that the class be “so numerous that joinder is impractical.”
23   “‘Impracticability’ does not mean ‘impossibility,’ only difficulty or inconvenience of
24   joining all members of the class.” Aichele v. City of L.A., 314 F.R.D. 478, 487 (C.D.
25   Cal. 2013) (internal quotation marks and formatting omitted). The numerosity
26   requirement may be satisfied even if relatively few class members are involved. See,
27   e.g., Jordan v. County of Los Angeles, 669 F.2d 1311, 1319 (9th Cir. 1982), vacated on
28   other grounds, 459 U.S. 810 (1982) (noting that the court was inclined to find this
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 1   requirement “satisfied solely on the basis of [39] ascertained class members”). “The
 2   Ninth Circuit has not offered a precise numerical standard; other District Courts have,
 3   however, enacted presumptions that the numerosity requirement is satisfied by a
 4   showing of 25-30 members.” Bentley v. United of Omaha Life Ins. Co., No. CV 15-
 5   7870-DMG (AJWx), 2018 U.S. Dist. LEXIS 117107, at *12 (C.D. Cal. May 1, 2018)
 6   (internal citations omitted).
 7         It is not necessary to determine the exact size of the class in order to satisfy Rule
 8   23(a)(1), especially where it would be unreasonable to require the named plaintiffs to
 9   identify all class members. In re U.S. Financial Securities Litigation, 69 F.R.D. 24, 34
10   (S.D. Cal. 1975). Rather, “the conduct complained of is the benchmark for determining
11   whether a subdivision (b)(2) class exists, making it uniquely suited to civil rights actions
12   in which the members of the class are often ‘incapable of specific enumeration.’” Yaffe,
13   454 F.2d at 1366. “Where the exact size of the class is unknown but general knowledge
14   and common sense indicate that it is large, the numerosity requirement is satisfied.”
15   Orantes-Hernandez v. Smith, 541 F. Supp. 351, 370 (C.D. Cal. 1982). Further, “[t]he
16   numerosity requirement is relaxed” where, as here, “the plaintiff is seeking an
17   injunction or a declaratory judgment because certifying a class would avoid duplicative
18   suits brought by other class members.” Bentley, 2018 U.S. Dist. LEXIS 117107, at *12.
19         Here, the members of the proposed class are clearly too numerous to join.
20   Plaintiffs here challenge policies and practices that affect hundreds of children annually.
21   ORR data indicate that in FY2017 the agency took custody of 50,834 children. (Ex. 3 ¶
22   10.) Many of these children are members of one or more of the five subclasses.
23   1)    ORR steps up over 800 youth to secure facilities, medium-secure facilities, or
24         RTCs annually. (Id. 9) All of these children fall within Plaintiffs’ proposed “step-
25         up” subclass because, as a matter of policy and practice, ORR gives none of these
26         youth any procedural protection whatsoever against needlessly secure and overly
27
     9
      At any given time, ORR detains 25-40 youth in RTCs, 35-52 in juvenile halls, and
28   109-131 in staff-secure facilities. (Ex. 3 ¶ 10.)
                                                            MEMORANDUM IN SUPPORT OF MOTION FOR
                                                14.                         CLASS CERTIFICATION
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 1        restrictive placement. (Compl. ¶ 98.)
 2   2)   As for Plaintiffs’ proposed subclass comprising children ORR medicates without
 3        lawful authority, ORR data indicate that it places some 74 children annually in
 4        RTCs. (Ex. 3 ¶ 10.) ORR administers psychotropic drugs to all, or nearly all,
 5        children it places in such facilities. (Ex. 23 ¶ 3.) Additionally, ORR administers
 6        psychotropics to an unknown number of unidentified children and youth held in
 7        juvenile halls, staff-secure facilities, and even shelters. (See, e.g., Ex. 16 ¶ 5; Ex.
 8        12 ¶ 12; Ex. 11 ¶ 4.)
 9   3)   The proposed subclass of children denied release because ORR thinks their
10        parents or other available custodians are or may be unfit is also too numerous for
11        joinder. The evidence shows that ORR routinely delays or denies the release of
12        children ostensibly because it questions whether their parents or other available
13        custodians will harm or neglect them following release. (See e.g., Ex. 18 ¶ 9
14        (youth detained six months at Shiloh RTC; “I got the impression that the home
15        investigator didn’t think I made enough money to be able to support [my
16        granddaughter] and myself.”); Ex. 24 ¶ 8 (youth detained for one year and three
17        months; “My case worker told me that the only reason that I haven’t been released
18        to my aunt . . . is because I don’t have an official birth certificate[.] . . . My mother
19        died before she could register me for [one].”); Ex. 25 ¶ 10 (minor detained four
20        months; “My case manager said the only reason that I haven’t been released is
21        that the government is now reviewing my case. They have not told me how long
22        it would take . . .”); Ex. 26 ¶ 5 (youth detained five months; “My mom began
23        trying to get me back . . . Someone came to inspect her house and everything
24        came out well. Neither of us understands why I am still here.”); Ex. 27 ¶ 6 (youth
25        detained ten months; “[M]y mom moved from Kansas to Texas to be closer to
26        me. . . . They continued to take long making the decision to let me live with her.
27        According to her, the government did a study of the home, and everything went
28        well.”).
                                                             MEMORANDUM IN SUPPORT OF MOTION FOR
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 1   4)    All children need a lawyer when ORR steps them up, unlawfully medicates them,
 2         or refuses to release them to available custodians because it thinks them unfit.
 3         This subclass is therefore likely as large as the first three proposed subclasses
 4         combined, adjusted for overlapping membership in those subclasses.
 5   5)    The subclass of children that ORR places in overly secure facilities due to a
 6         disability is also too numerous for joinder. As discussed above, ORR places
 7         some 74 children annually in RTCs. (Ex. 3 ¶ 10.) These children are necessarily
 8         stepped up for an actual or perceived mental health need and are therefore
 9         subclass members. In addition, there are an unknown number of unidentified
10         children in secure or staff-secure facilities who are being unnecessarily
11         segregated due to their disability and delayed in release.
12         The membership of all five proposed subclasses is also growing constantly
13   because ORR takes new children into custody daily, and it is impossible to identify
14   these future members of the proposed class. When unknown and unnamed individuals
15   are certain to become class members in the future, joinder of their claims “is inherently
16   impracticable.” Jordan, 669 F.2d at 1320; Phillips v. Joint Legis. Comm., 637 F.2d
17   1014, 1022 (5th Cir. 1981) (finding joinder of unknown future class members “certainly
18   impracticable”); see also Rodriguez v. Hayes, 591 F.3d 1105, 1118 (9th Cir. 2010)
19   (“The inclusion of future class members in a class is not itself unusual or
20   objectionable.”).
21         The proposed class comprises many hundreds or thousands of children, including
22   many who will become class members in the future and whose identities are currently
23   unknown. This action accordingly satisfies the numerosity requirement of Rule
24   23(a)(1).
25         B.     Plaintiffs Satisfy the Commonality Requirement.
26         Rule 23(a)(2) requires that there be “questions of law or fact common to the
27   class.” Fed. R. Civ. P. 23(a)(2) “[N]ot every question of law or fact must be common
28   to the class; ‘all that Rule 23(a)(2) requires is a single significant question of law or
                                                           MEMORANDUM IN SUPPORT OF MOTION FOR
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 1   fact.’” Rodriguez v. Nike Retail Servs., Inc., No. 5:14-cv-01508-BLF, 2016 WL
 2   8729923, at *9 (N.D. Cal. Aug. 19, 2016) (quoting Abdullah v. U.S. Sec. Assocs., Inc.,
 3   731 F.3d 952, 957 (9th Cir. 2013)) (emphasis in original); see also Rodriguez, 591 F.3d
 4   at 1122 (“[T]he commonality requirements asks [sic] us to look only for some shared
 5   legal issue or a common core of facts.”).
 6         The standard is even more liberal in a civil rights suit such as this one, in which
 7   the class proponents seek injunctive and declaratory relief against “a system-wide
 8   practice or policy that affects all of the putative class members.” Armstrong v. Davis,
 9   275 F.3d 849, 868 (9th Cir. 2001), overruled on other grounds by Johnson v. California,
10   543 U.S. 499 (2005). Such suits “by their very nature often present common questions
11   satisfying Rule 23(a)(2).” 7A Charles Alan Wright, Arthur R. Miller, Federal Practice
12   & Procedure § 1763 (3d ed. 2018); see also Rodriguez, 591 F.3d at 1122-24 (finding
13   commonality satisfied in habeas class action involving challenges to prolonged
14   immigration detention without bond hearing); Walters v. Reno, 145 F.3d 1032, 1045-
15   46 (9th Cir. 1998) (finding commonality in case challenging notices of deportation
16   proceedings); Armstrong, 275 F.3d at 868 (finding commonality where putative class
17   members with different types of disabilities suffered similar harm).
18         Common questions of law or fact presented in this proposed class action include
19   the following:
20      • Whether ORR’s challenged policies and practices violate the Flores Settlement,
21         the TVPRA, the Due Process Clause of the Fifth Amendment, the Freedom of
22         Association Clause of the First Amendment, and/or Section 504 of the
23         Rehabilitation Act;
24      • Whether ORR administers psychotropic medications to children without the
25         consent of a parent or other lawful authority and without constitutionally required
26         safeguards;
27      • Whether ORR affords children stepped up to RTCs, juvenile halls, or medium-
28         secure facilities a meaningful opportunity to challenge their placement decisions;
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 1      • Whether ORR affords detained children, their parents or other available
 2         custodians any viable means to rebut ORR’s views regarding a proposed
 3         custodian’s fitness;
 4      • Whether ORR impedes lawyers Congress funds to represent proposed class
 5         members in ORR “matters” and “proceedings;” and
 6      • Whether ORR has a policy and practice of placing children in secure and
 7         medium-secure facilities or RTCs because of their actual or perceived
 8         disabilities.
 9         Any of these common issues, standing alone, is enough to satisfy Rule 23(a)(2)’s
10   permissive standard. Abdullah, 731 F.3d at 957; Perez-Olano v. Gonzalez, 248 F.R.D.
11   248, 257 (C.D. Cal. 2008) (“Courts have found that a single common issue of law or
12   fact is sufficient . . . .”) (citations omitted); Sweet v. Pfizer, 232 F.R.D. 360, 367 (C.D.
13   Cal. 2005) (“there must only be one single issue common to the proposed class”)
14   (internal quotation marks and citation omitted).
15         That ORR might argue about whether a particular child needs psychotropic
16   medications, secure confinement, or a better custodian, does not negate commonality.
17   Such disputes are immaterial to whether more and better procedures are required to
18   determine fairly and transparently whether ORR’s position is justified.
19         C.     Plaintiffs Satisfy the Typicality Requirement.
20         Rule 23(a)(3) requires that the claims of the named plaintiffs be “typical of the
21   claims . . . of the class.” Fed. R. Civ. P. 23(a)(3). “Under the rule’s permissive standards,
22   representative claims are ‘typical’ if they are reasonably co-extensive with those of
23   absent class members; they need not be substantially identical.” Hanlon v. Chrysler
24   Corp., 150 F.3d 1011, 1020 (9th Cir. 1998).
25         Typicality exists “‘when each class member’s claim arises from the same course
26   of events, and each class member makes similar legal arguments to prove the
27   defendant’s liability.’” Rodriguez, 591 F.3d at 1124 (quoting Armstrong, 275 F.3d at
28   868). “The test of typicality is ‘whether other members have the same or similar injury,
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 1   whether the action is based on conduct which is not unique to the named plaintiffs, and
 2   whether other class members have been injured by the same course of conduct.’”
 3   Parsons v. Ryan, 754 F.3d 657, 685 (9th Cir. 2014) (citation omitted). Meeting this
 4   requirement usually follows from the presence of common questions of law, and courts
 5   have construed subdivisions (a)(2) and (a)(3) to be largely duplicative. See 5 Jerold S.
 6   Solovy et al., Moore’s Federal Practice § 23.24 (3d ed. 2018).
 7         As discussed above, the named Plaintiffs have suffered injuries from Defendants’
 8   policies and practices that are typical of class members.
 9   1)    Each of the named Plaintiffs have been “stepped up” without any meaningful
10         notice or opportunity to be heard.
11   2)    ORR has administered psychotropic drugs to Plaintiffs Lucas R., Daniela Marisol
12         T., Miguel Angel S., Gabriela N., Sirena P., and Benjamin F. without affording
13         them lawfully required procedural protections.
14   3)    For many months, ORR refused to release any of the named Plaintiffs despite
15         their having qualified custodians to care for them.
16   4)    ORR impeded legal representation of the named Plaintiffs for issues related to
17         step-up, administration of medications, or release to available custodians.
18   5)    ORR stepped up Plaintiffs Lucas R., Daniela Marisol T., Miguel Angel S.,
19         Gabriela N., Sirena P., and Benjamin F. due to actual or perceived disabilities,
20         thereby erecting additional barriers to their release.
21         The named Plaintiffs have identical legal theories and seek the same relief for the
22   class as a whole. The named Plaintiffs seek to vindicate the rights of unnamed class
23   members that are violated through ORR’s uniform policies and practices. See, e.g.,
24   Armstrong, 275 F.3d at 869-70 (holding that the typicality requirement is met “[w]here
25   the challenged conduct is a policy or practice that affects all class members” and the
26   unnamed class members suffer similar injuries as the named plaintiffs). The typicality
27   requirement of Rule 23(a)(3) is accordingly satisfied.
28         The three named Plaintiffs ORR has finally released from custody, Lucas R.,
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 1   Sirena P., and Benjamin F., may still serve as class representatives. First, their claims
 2   are “inherently transitory,” both because these individuals “could . . . suffer repeated
 3   [harm]” and “because ‘it is certain that other persons similarly situated’ will have the
 4   same complaint.” Pitts v. Terrible Herbst, Inc., 653 F. 3d 1081, 1090 (9th Cir. 2011)
 5   (quoting Gerstein v. Pugh, 420 U.S. 103, 110 n. 11 (1975)). While each of these
 6   plaintiffs is currently residing with a sponsor relative, ORR retains the authority under
 7   the Flores settlement to resume custody of these children if it determines that the
 8   custodian is no longer suitable. (Ex. 1 ¶¶ 15-16.) Thus, Lucas R., Sirena P., and
 9   Benjamin F. could each return to ORR’s custody at any time and once again suffer its
10   unlawful policies and practices. 10 In addition, ORR’s detention of thousands of children
11   makes it certain that other similarly situated children will be subject to the policies and
12   practices Plaintiffs challenge and have the same complaints. “In such cases, the named
13   plaintiff’s claim is capable of repetition yet evading review, and the relation back
14   doctrine is properly invoked to preserve the merits of the case for judicial resolution . .
15   . avoid[ing] the spectre of plaintiffs filing lawsuit after lawsuit, only to see their claims
16   mooted before they can be resolved.” Id. (internal citations and quotation marks
17   omitted). See also Franco-Gonzales v. Napolitano, No. CV 10-02211 DMG (DTBx),
18   2011 WL 11705815 at *6 & n.7 (C.D. Cal. Nov. 21, 2011) (finding plaintiffs’ claims
19   for custody hearings while detained by DHS could go forward, even where three of the
20   named plaintiffs had already received bond hearings, because they were inherently
21   transitory claims that other similarly situated persons were certain to have in the future).
22         Second, the relation-back doctrine applies not only to claims that are inherently
23   transitory, but also to claims that are “acutely susceptible” to selective mooting by the
24   class opponent. Pitts, 653 F.3d at 1091 (holding defendant’s attempt to pick off named
25
26   10
        Indeed, the new regulations proposed by DHS would amend 8 CFR 236.3(n) to
     specifically authorize the agency to reassume custody of children after release if there
27   is a material change in circumstances. See Apprehension, Processing, Care and
     Custody of Alien Minors and Unaccompanied Alien Children, 83 Fed. Reg. 45,504
28   (Sept. 7, 2018).
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 1   plaintiff via settlement offer did not moot plaintiff’s class action). Here, Lucas R.,
 2   Sirena P., and Benjamin F. were only released after they were identified as plaintiffs in
 3   the instant action and, in Lucas R.’s case, after he sought a preliminary injunction
 4   requiring his release. It may be that ORR’s decision to release these Plaintiffs was
 5   premised on a misguided litigation strategy that release might frustrate their effort to
 6   serve as class representatives, rather than adherence to its obligations under the law. If
 7   so, ORR is simply misreading the law, as the instant claims may still be certified and
 8   these Plaintiffs named as class representatives despite any change in circumstances.
 9         Third, each Plaintiff seeks nominal damages in addition to injunctive relief.
10   Because release has not completely resolved their claims, the released Plaintiffs
11   maintain a live controversy before this Court. See Church of Scientology of California
12   v. United States, 506 U.S. 9, 13 (1992) (availability of an additional partial remedy
13   prevents individual claim from being moot); Jacobs v. Clark Cty. Sch. Dist., 526 F.3d
14   419, 426 (9th Cir. 2008) (due process claims for nominal damages based on past
15   conduct were not mooted where students no longer attended schools at issue).
16         Thus, each of the named Plaintiffs who have been (or may be) released prior to a
17   decision on class certification can still serve as class representatives. Independently, the
18   remaining Plaintiffs, Daniela Marisol T., Miguel Angel S., Gabriela N., and Jaime D.,
19   have claims typical of the class and are proper class representatives. 11
20         D.     Plaintiffs Satisfy the Adequacy of Representation Requirement.
21         The final requirement for class certification, set out in Rule 23(a)(4), is that the
22   named plaintiffs “will fairly and adequately protect the interest of the class.” Fed. R.
23   Civ. P. 23(a)(4). Relevant to this requirement are two questions: “(1) [D]o the named
24   plaintiffs and their counsel have any conflicts of interest with other class members and
25   (2) will the named plaintiffs and their counsel prosecute the action vigorously on behalf
26
27   11
       To the extent that the Court perceives any problems with the adequacy of the
     current named plaintiffs, Plaintiffs can and should have the opportunity to identify and
28   substitute new putative class representatives to address those concerns.
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 1   of the class?” Hanlon, 150 F.3d at 1020.
 2         In this case, the interests of the class representatives fully align with those of the
 3   proposed class. Their mutual goal is for this Court to declare Defendants’ challenged
 4   policies and practices unlawful and to enjoin further violations. Cf. Hanberry v. Lee,
 5   311 U.S. 32, 41-42 (1940). Where, as here, “the legal issues presented are the same for
 6   every potential plaintiff,” the named “Plaintiffs’ interests are substantively identical to
 7   those of the other potential class members.” Corsi, 2018 U.S. Dist. LEXIS 120329, at
 8   *2 (citing Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349, n.5 (2011)).
 9         Plaintiffs and their counsel will vigorously prosecute this action. In both Flores
10   v. Sessions and this action, Plaintiffs’ counsel have demonstrated they will zealously
11   advocate for the proposed class. Plaintiffs’ counsel are unquestionably qualified to
12   represent both named and unnamed class members. (Exs. 28, 29, 30, 31, 32.)
13         Plaintiffs’ lead counsel is employed by a non-profit organization specializing in
14   federal litigation on behalf of immigrants and refugees. (Ex. 29 ¶ 2.)              He has
15   successfully litigated numerous class actions and individual cases in the federal courts
16   involving the rights of immigrants and non-citizen children, including Reno v. Flores,
17   507 U.S. 292 (1993); League of United Latin Am. Citizens v. Wilson, 131 F.3d 1297
18   (9th Cir. 1997); We Are Am. v. Maricopa County Bd. of Supervisors, 297 F.R.D. 373
19   (D. Ariz. 2013); Perez-Olano, 248 F.R.D. 248; Orantes-Hernandez, 541 F. Supp. 351.
20         Plaintiffs’ attorneys also include the National Center for Youth Law (NCYL), a
21   non-profit organization recognized for its wealth of experience specifically bringing
22   class action lawsuits and other complex litigation on behalf of children in government
23   custody, including to protect immigrant and refugee children and address mental health
24   needs and treatment of children. (Ex. 30); see also, e.g., Flores v. Sessions, No. 85-
25   4544-DMG (C.D. Cal.); M.B. v. Corsi, No. 17-4102-NKL (W.D. Mo.); Braam v.
26   Washington, 81 P.3d 851 (Wash. 2003); T.R. v. Quigley, No. 09-1677-TSV (W.D.
27   Wash.); David C. v. Leavitt, No. 93-C-206W (D. Utah); Angela R. v. Clinton, 999 F.2d
28   320 (8th Cir. 1993); L.J. v. Massinga, 838 F.2d 118 (4th Cir. 1988), cert. denied, 488
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 1   U.S. 1018 (1989).
 2         Plaintiffs’ attorneys also include the UC Davis Immigration Law Clinic and Civil
 3   Rights Clinic, law school clinical programs recognized for their complex federal
 4   litigation on behalf of detained immigrants, detained unaccompanied minors, and
 5   prisoners. (Ex. 28); see, e.g., Flores v. Sessions, 862 F.3d 863, 881 (9th Cir. 2017)
 6   (finding the Flores Settlement Agreement was not superseded and upholding the right
 7   to a bond hearing for detained immigrant children); Singh v. Holder, 638 F.3d 1196,
 8   1205,1208-09 (9th Cir. 2011) (holding the standard of proof required to detain
 9   immigrants in prolonged detention is clear and convincing evidence and finding
10   immigrants had the right to simultaneous recordings of bond proceedings); Flores-
11   Torres v. Mukasey, 548 F.3d 708, 711-12 (9th Cir. 2008) (holding habeas jurisdiction
12   exists to challenge the legality of one’s detention if the individual has a colorable claim
13   to United States citizenship); Saravia v. Sessions, 280 F. Supp. 3d 1168, 1196-98 (N.D.
14   Cal. 2017) (enjoining the re-detention of unaccompanied minor children without
15   procedural protections).
16         Finally, Plaintiffs are represented pro bono by Cooley LLP, a distinguished
17   international law firm with broad experience in class action and other complex
18   litigation, including Saravia v. Sessions, 280 F. Supp. 3d at 1176. 12 (Ex. 32.)
19   V.    THIS ACTION SATISFIES THE REQUIREMENTS OF RULE 23(B)(2).
20         In addition to satisfying the requirements of Rule 23(a), a certifiable class must
21   meet one of the requirements of Rule 23(b). This action falls squarely within Rule
22   23(b)(2), which requires that “the party opposing the class has acted or refused to act
23   on grounds that apply generally to the class, so that final injunctive relief or
24   corresponding declaratory relief is appropriate with respect to the class as a whole.”
25
26   12
       For the same reasons, Plaintiffs’ counsel likewise meet the requirements of Rule
     23(g) for appointment as class counsel. See Bentley v. United of Omaha Life Ins. Co.,
27   No. CV 15-7870-DMG (AJWx), 2018 U.S. Dist. LEXIS 117107, at *27 n.5 (C.D.
     Cal., May 1, 2018) (interpreting the Rule 23(a)(4) adequacy of representation
28   requirement as analogous to Rule 23(g)’s requirements).
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 1   Fed. R. Civ. P. 23(b)(2). “[Rule] 23(b)(2) was adopted in order to permit the prosecution
 2   of civil rights actions.” Walters, 145 F.3d at 1047.
 3          An action is appropriate for class treatment under Rule 23(b)(2) when “‘class
 4   members complain of a pattern or practice that is generally applicable to the class as a
 5   whole.’” Rodriguez, 591 F.3d at 1125-26 (citation omitted) (finding that class of
 6   noncitizens detained during immigration proceedings met Rule 23(b)(2) criteria
 7   because “all class members’ [sic] [sought] the exact same relief as a matter of statutory
 8   or, in the alternative, constitutional right”). “Identification of all class members is not
 9   necessary under Rule 23(b)(2).” Perez-Olano, 248 F.R.D. at 259. Rather, [t]he rule is
10   appropriate ... where plaintiffs bring a class action on behalf of a ‘shifting population.’”
11   Id. (citation omitted). The classes that Plaintiffs seek to certify are quintessential Rule
12   23(b)(2) classes.
13          In this case, Defendants are pursuing policies and procedures which, inter alia,
14   arbitrarily consign children to overly secure institutions, cause children to be medicated
15   without due process, continue children in federal custody despite the availability of their
16   parents or other custodians to care for them, impede detained children from getting legal
17   assistance Congress has said they should have and discriminate against children by
18   placing them in overly secure facilities and prolonging their detention due to various
19   disabilities.
20          The proposed classes are a creation of these challenged policies and practices,
21   and the proposed injunctive and declaratory relief would benefit all class members.
22   Certification under Rule 23(b)(2) is therefore appropriate. See Parsons, 754 F.3d at 689
23   (finding declaratory and injunctive relief proper as to class where “every [member] . . .
24   is allegedly suffering the same (or at least a similar) injury and that injury can be
25   alleviated for every class member by uniform changes in . . . policy and practice”);
26   Rodriguez, 591 F.3d at 1126 (certifying Rule 23(b)(2) class of immigrant detainees
27   where “relief from a single practice is requested by all class members”).
28          As noted, courts have repeatedly certified classes comprising persons subject to
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 1   challenged regulations, practices or policies. Supra at 2. Plaintiffs request that this Court
 2   do the same.
 3   VI.     CONCLUSION
 4           For the foregoing reasons, the Court should grant this motion and certify the class
 5   proposed herein, appoint the named Plaintiffs as class representatives, and appoint
 6   Plaintiffs’ counsel to serve as class counsel.
 7   Dated:       September 28, 2018           CARLOS HOLGUÍN
                                               Center for Human Rights &
 8                                             Constitutional Law
 9                                             HOLLY COOPER
                                               CARTER WHITE
10                                             University of California Davis School of
                                               Law
11
                                               LEECIA WELCH
12                                             NEHA DESAI
                                               POONAM JUNEJA
13                                             CRYSTAL ADAMS
                                               National Center for Youth Law
14
                                               SUMMER WYNN
15                                             MARY KATHRYN KELLEY
                                               JON CIESLAK
16                                             MEGAN DONOHUE
                                               Cooley LLP
17
                                               /s/ Carlos Holguin
18                                             Carlos Holguin
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                                                             MEMORANDUM IN SUPPORT OF MOTION FOR
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